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                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA

   SONY MUSIC ENTERTAINMENT, et al.,

                  Plaintiffs,

          v.                                               Case No. 1:18-cv-00950-LO-JFA

   COX COMMUNICATIONS, INC., et al.,

                  Defendants.



                     DECLARATION OF THOMAS KEARNEY IN SUPPORT OF
                      DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT



  I, Thomas Kearney, hereby declare pursuant to 28 U.S.C. § 1746 as follows:

         1.      I am Of Counsel with the firm of Winston & Strawn LLP, attorneys of record for

  Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”) in this matter. I am a member

  of the bar of the State of California, and my application to practice before this Court pro hac vice

  in this matter is pending. I have personal knowledge of all facts stated in this declaration, except

  where facts are stated on information and belief, and as to such facts I believe them to be true. If

  called upon as a witness, I could and would testify competently thereto.

                                      Excerpts from Depositions
                                of Plaintiff and Third-Party Witnesses

         2.      Exhibit 1 is a true and correct copy of relevant excerpts from the June 13, 2019

  deposition transcript of Sam Bahun, who was the Rule 30(b)(6) designee for MarkMonitor, Inc.

  For ease of reference, the portions of Mr. Bahun’s transcript cited in Defendants’ Memorandum

  of Law in Support of Their Motion for Summary Judgment are set forth here:
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     a) 197:3-10:




     b) 147:15-25:



     c) 149:13-151:1




     d) 50:12-13:



     e) 102:25-103:21:




                                                                            ase
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     f) 100:23-101:1:



     g) 149:18-19: “our system … looks and appears as a functioning peer in the swarm[.]”

         3.     Exhibit 2 is a true and correct copy of relevant excerpts from the June 28, 2019

  deposition transcript of Plaintiffs’ expert Barbara Frederiksen-Cross. For ease of reference, the

  portions of Ms. Fredericksen-Cross’s transcript cited in Defendants’ Memorandum of Law in

  Support of Their Motion for Summary Judgment are set forth here:

     a) 46:5-11:




     b) 50:1-15:
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     c) 58:4-9:




     d) 45:2-19:




         4.       Exhibit 3 is a true and correct copy of relevant excerpts from the May 6, 2019

  deposition transcript of Vance Ikezoye, the Rule 30(b)(6) designee of Audible Magic Corporation.

  For ease of reference, the portions of Mr. Ikezoye’s transcript cited in Defendants’ Memorandum

  of Law in Support of Their Motion for Summary Judgment are set forth here:

     a) 48:14-21:




     b) 72:18-73:2:
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      c) 71:18-24:




      d) 175:21- 176:18:




          5.        Exhibit 4 is a true and correct copy of relevant excerpts from the June 10, 2019

  deposition transcript of Steven Marks, the Rule 30(b)(6) designee of the Recording Industry

  Association of America (“RIAA”). For ease of reference, the portions of Mr. Marks’s transcript

  cited in Defendants’ Memorandum of Law in Support of Their Motion for Summary Judgment are

  set forth here:
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     a) 90:13-24




     b) 36:8-24:




     c) 65:11-66:7:




     d) 76:14-24:




     e) 77:6-10:
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     f) 88:18-93:7:




         6.     Exhibit 5 is a true and correct copy of relevant excerpts from the June 20, 2019

  deposition transcript of Plaintiffs’ expert George P. McCabe. For ease of reference, the portions

  of Dr. McCabe’s transcript cited in Defendants’ Memorandum of Law in Support of Their Motion

  for Summary Judgment are set forth here:

     a) 88:10-13:




         7.     Exhibit 6 is a true and correct copy of relevant excerpts from the May 23, 2019

  deposition transcript of Alasdair McMullan, the 30(b)(6) designee of the Universal Music Group

  Plaintiffs. For ease of reference, the portions of Mr. McMullan’s transcript cited in Defendants’

  Memorandum of Law in Support of Their Motion for Summary Judgment are set forth here:
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     a) 60:2-4:



     b) 60: 22-24:



     c) 99:5-9:




         8.       Exhibit 7 is a true and correct copy of relevant excerpts from the July 2, 2019

  deposition transcript of Slawomir Paszkowski, the Rule 30(b)(6) designee of MarkMonitor Inc.

  For ease of reference, the portions of Mr. Paszkowski’s transcript cited in Defendants’

  Memorandum of Law in Support of Their Motion for Summary Judgment are set forth here:

     a) 80:9-85:9:
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      b) 81:19-83:16: (See above)

      c) 128:14-129:5:




      d) 89:17-22:




      e) 129:2-5 :




      f) 91:19-22:




      g) 41:2-21:



      h) 53:5-54:18:
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          9.     Exhibit 8 is a true and correct copy of relevant excerpts from the June 28, 2019

   deposition transcript of Steven Poltorak, the Rule 30(b)(6) designee of the Warner Music Group

   Plaintiffs. For ease of reference, the portions of Mr. Poltorak’s transcript cited in Defendants’

   Memorandum of Law in Support of Their Motion for Summary Judgment are set forth here:

      a) 57:10-19:




      b) 47:23-48:11:




                        Excerpts from Depositions of Defendants’ Witnesses

          10.    Exhibit 9 is a true and correct copy of relevant excerpts from the April 25, 2019

   deposition transcript of Matthew Carothers, Cox’s Rule 30(b)(6) designee. For ease of reference,
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   the portions of Mr. Carothers’s transcript cited in Defendants’ Memorandum of Law in Support of

   Their Motion for Summary Judgment are set forth here:

      a) Dep. 144:8-13:



          11.       Exhibit 10 is a true and correct copy of relevant excerpts from the April 10, 2019

   deposition transcript of Paul Jarchow, Cox’s 30(b)(6) designee. For ease of reference, the portions

   of Mr. Jarchow’s transcript cited in Defendants’ Memorandum of Law in Support of Their Motion

   for Summary Judgment are set forth here:

      a) 160:22-25



      b) 10:18-11:




      c) 12:16-24:




      d) 98:2-118:8 – reviewing and authenticating the following exhibits:

                •   COX_SONY 97360 – (Jarchow Exhibit 16)
                •   COX_SONY 97361 – (Jarchow Exhibit 17)
                •   COX_SONY 97362 – (Jarchow Exhibit 18)
                •   COX_SONY 97363 – (Jarchow Exhibit 19)
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                •   COX_SONY 97364 – (Jarchow Exhibit 20)
                •   COX_SONY 97365 – (Jarchow Exhibit 21)
                •   COX_SONY 97367 – (Jarchow Exhibit 23)
                •   COX_SONY 97366 – (Jarchow Exhibit 22)

          12.       Exhibit 11 is a true and correct copy of relevant excerpts from the April 5, 2019

   deposition transcript of Sanford Mencher, Cox’s Rule 30(b)(6) designee. For ease of reference, the

   portion of Mr. Mencher’s transcript cited in Defendants’ Memorandum of Law in Support of Their

   Motion for Summary Judgment are set forth here:

      a) 44:7-12




          13.       Exhibit 12 is a true and correct copy of relevant excerpts from the June 14, 2019

   deposition transcript of Sidd Negretti, Cox’s Rule 30(b)(6) designee. For ease of reference, the

   portions of Mr. Negretti’s transcript cited in Defendants’ Memorandum of Law in Support of Their

   Motion for Summary Judgment are set forth here:

      a) 183:11-15:




      b) id. 188:22-189:4:



                                             Expert Reports

          14.       Exhibit 13 is a true and correct copy of the Expert Report of Plaintiffs’ Expert

   Barbara Frederiksen-Cross, served on April 10, 2019. For ease of reference, the portions of Ms.

   Fredericksen-Cross’s report cited in Defendants’ Memorandum of Law in Support of Their Motion

   for Summary Judgment are set forth here:
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      a) ¶ 55:




      b) ¶78:




      c) ¶ 81:




      d) ¶ 25-26:
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      e) ¶ 27:



      f) ¶ 17, 60:




                                            .                                  .

         ¶ 60:




      g) ¶89:




      h) ¶¶82-83:
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       b) ¶ 17:



       c) ¶ 38:

       d) ¶ 12:



           16.       Exhibit 15 is a true and correct copy of the Expert Report of Plaintiffs’ Expert

   William Lehr, served on April 19, 2019. For ease of reference, the portions of Dr. Lehr’s report

   cited in Defendants’ Memorandum of Law in Support of Their Motion for Summary Judgment are

   set forth here:

       a) ¶ 27:



           17.       Exhibit 16 is a true and correct copy of the Expert Report of Plaintiffs’ Expert

   George P. McCabe, served on April 10, 2019. For ease of reference, the portions of Dr. McCabe’s

   report cited in Defendants’ Memorandum of Law in Support of Their Motion for Summary

   Judgment are set forth here:

       a) ¶ 16(c):




       b) ¶ 4:
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      c) ¶ 24:




          18.    Exhibit 17 is a true and correct copy of the Expert Report of Plaintiffs’ Expert

   Terrence P. McGarty, served on April 10, 2019. For ease of reference, the portions of Mr.

   McGarty’s report cited in Defendants’ Memorandum of Law in Support of Their Motion for

   Summary Judgment are set forth here:

      a) ¶ 18:




          19.    Exhibit 18 is a true and correct copy of the Rebuttal Expert Report of Cox’s Expert

   Dr. Nick Feamster, served on May 15, 2019. For ease of reference, the portions of Dr. Feamster’s

   Rebuttal Report cited in Defendants’ Memorandum of Law in Support of Their Motion for

   Summary Judgment are set forth here:

      a) ¶88:
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      b) ¶111:
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      c) ¶¶ 93-98:
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      d) ¶ 42:




      e) ¶ 99:
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      f) ¶ 129:



      g) ¶¶ 101, 102:




      h) ¶ 132:
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      i) Appx. C [see attached Ex. 18]

      j) ¶ 130:

      k) Appendix B to the Feamster Report is a sample Evidence Package showing a partial file

          download. [see attached Ex. 18]

          20.     Exhibit 19 is a true and correct copy of the Rebuttal Expert Report of Cox’s Expert

   Dr. Kevin Almeroth, served on May 15, 2019. For ease of reference, the portions of Dr. Almeroth’s

   Rebuttal Report cited in Defendants’ Memorandum of Law in Support of Their Motion for

   Summary Judgment are set forth here:

      a) ¶¶ 100-101:
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                                         ECF Filed Documents
                                    (included for ease of reference)

          21.     Exhibit 20 is a true and correct copy of ECF 82-7 (Parry Dec. at ¶ 6: “When an

   album is registered in its entirety, the registration covers all of the songs on that album that have

   not been previously released, and which are themselves eligible for copyright protection, which

   generally is between 10 and 15 songs.”);

          22.     Exhibit 21 is a true and correct copy of ECF 82-8 (Leak Dec. at ¶ 13: “When an

   album is registered in its entirety, the registration covers all of the songs on that album that have

   not been previously released, which generally is between 10 and 15 songs.”);


                                       RIAA notice program
                              Master Agreement and Statement of Work

          23.     Exhibit 22 is a true and correct copy of RIAA_00000003-16, which was produced

   by third-party RIAA in this matter on February 22, 2019. This document is titled “Master

   Agreement” and dated December 20, 2011 (“Master Agreement”). The Master Agreement states

   that it was entered into between DtecNet, Inc. and RIAA. On information and belief, and as stated

   in Exhibits 24A and 25B in ¶ 25 below, DtecNet, Inc. was subsequently purchased by

   MarkMonitor, Inc., which thereby became a party to the Master Agreement. The Master

   Agreement states:
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      a)



                                                 Id. at RIAA_00000006.

      b)




                                                                       Id. at RIAA_00000006.

      c)

                                                Id. at RIAA_00000006.

      d)




                                                                                          Id. at

           RIAA_00000012.

           24.   Exhibit 23 is a true and correct copy of RIAA_00000017-29 (the “2012 SOW”),

   which was produced by third-party RIAA in this matter on February 22, 2019. This document,

   titled “SOW: RIAA Commercial ISP Program” and dated February 15, 2012, states that it “is made

   with reference to” the December 20, 2011 agreement between DtecNet and RIAA. Id. at

   RIAA_00000017. The 2012 SOW states:

      a)
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                                               Id.

      b)



                              Id. at RIAA_00000026.

      c) Appendix C of the 2012 SOW is a table of




                         Id. at RIAA_00000029. Appendix C states:

                   Id.

           25.   Exhibit 24A is a true and correct copy of a document Bates labeled

   RIAA_00000030-44, which was produced by third-party RIAA in this matter on February 22,

   2019, titled “Statement of Work (‘SOW’).” The document, “dated as of March 22, 2013, is made

   with reference to that certain Master Agreement between MarkMonitor Inc. (Formerly ‘DtecNet

   Inc.’ and hereinafter ‘MarkMonitor’) and the Recording Industry Association of America

   (‘RIAA’) dated as of 20th of December 2011[.]” Id. at RIAA_00000030. Exhibit 24B is a true and

   correct copy of a document Bates labeled RIAA_00000045-58, which was produced by third-party

   RIAA in this matter on February 22, 2019, titled “Statement of Work (‘SOW’).” The document,

   “dated as of March 17, 2014, is made with reference to that certain Master Agreement between

   MarkMonitor Inc. (formerly ‘DtecNet Inc.’ and hereinafter ‘MarkMonitor’) and the Recording

   Industry Association of America (‘RIAA’) dated as of 20th of December 2011[.]” Id.

   RIAA_00000045.
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           26.   Exhibit 25 is a true and correct copy of a document Bates labeled

   RIAA_00127769-88, which was produced by third-party RIAA in this matter on February 22,

   2019. The document (the “Stroz Friedberg Assessment”) is titled “Independent Expert Assessment

   of MarkMonitor AntiPiracy Methodologies,” and dated October 14, 2012. According to the Stroz

   Friedberg Assessment:

      a)




                                        Id. at RIAA_00127771.

      b)




                                                        Id. at RIAA_00127774.

      c)



                                     Id. at RIAA_00127777.

      d)
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                                                                           Id. at

           RIAA_00127777.

      e)




                                                Id. at RIAA_00127777.

      f)




                                           Id. at RIAA_00127780.

      g)




                        Id. at RIAA_00127786.

      h)




                               Id. at RIAA_00127775.

      i)
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                                           Id. at RIAA_00127779.

       j)




                                                                                                Id. at

            RIAA_00127784-785.

                                              RIAA Notices

            27.      Exhibit 26 is a true and correct copy of Plaintiffs_00286430 (“Plaintiffs’ Notice

   Chart”), which Plaintiffs produced in discovery on March 25, 2019. According to metadata

   produced with the file, the original file name of this document was “RIAA notices sent to Cox

   2012-2015.txt,” and Plaintiffs have represented that this document is a spreadsheet summarizing

   284,444 notices sent on behalf of RIAA to Cox between January 2, 2012 and March 31, 2015.1

            28.      I have reviewed Plaintiffs’ Notice Chart, and it contains the following column

   names corresponding to data in the RIAA Notices:

            •     InfringementDetected
            •     NoticeSent
            •     NoticeId
            •     NoticeSentTo
            •     NoticeSentFrom
            •     Title


   1
    Because this document was produced in a text-only data format (in which data fields are separated
   by tabs), for ease of use I caused an Excel spreadsheet version of the document to be prepared
   under my direction. That Excel spreadsheet version, which is attached as Exhibit 26A, is
   substantively equivalent to the original spreadsheet, and I refer to both Exhibit 26 and Exhibit
   26A as “Plaintiffs’ Notice Chart.”
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             •     Artist
             •     HashText
             •     Protocol
             •     FileSize
             •     FileName
             •     PeerIP
             •     PeerPort
             •     ISP
             29.         Based on my review, Plaintiffs’ Notice Chart contains 163,148 entries where the

   “NoticeSent” date is between Feb. 1, 2013 and Nov. 26, 2014 (the “Claims Period”). These

   163,148 entries contain 1,998 unique combinations of Title and Artist. Exhibit 27 (“Noticed

   Works by Artist”), which was prepared under my direction, is a true and correct copy of

   spreadsheet data excerpted from Plaintiffs’ Notice Chart. The Noticed Works by Artist spreadsheet

   lists each of the 1,998 unique Title-and-Artist combinations in the RIAA Notices concerning

   alleged infringements during the Claims Period. This document was prepared by: (1) filtering

   Plaintiffs’ Notice Chart to display only notices sent during the Claims Period; (2) de-duplicating

   the list so that each unique combination of Title and Artist appears only once; and (3) displaying

   only the Title and Artist columns, sorted by Artist. Exhibit 28 (“Noticed Works by Title”), which

   was also prepared under my direction, contains the same information as Exhibit 27, but sorted by

   Title. Moreover, based on my review of Plaintiffs’ Notice Chart, even if the notices were

   interpreted as giving notice of an entire album by identifying a single song of the same name—

   that is, where a single song also happened to be the title of an album—the notices would still

   identify only a fraction of Plaintiffs’ sound recordings at issue—approximately 2,288 discrete

   tracks.
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          30.     Exhibit 29 is a true and correct copy of representative notices produced by

   Plaintiffs in this action, each of which Plaintiffs have represented was sent by RIAA to Cox during

   the Claims Period. These notices bear the following Bates numbers: Plaintiffs_00104130;

   Plaintiffs_00112675; Plaintiffs_00148396; Plaintiffs_00148541; and Plaintiffs_00200764.

          31.     Exhibit 30 is a true and correct copy of a document with Bates number

   Plaintiffs_00113142, which Plaintiffs produced in this action. This document is a notice sent by

   RIAA to Cox on March 27, 2013, concerning a work with Title “THE BOOK OF LOVE,” by

   Artist “THE MAGNETIC FIELDS.” According to the notice, the allegedly infringing file is named

   “69 Love Songs [Box Set].”

          32.     Exhibit 31 is a true and correct copy of a document with Bates number

   Plaintiffs_00175863, which Plaintiffs produced in this action. This document is a notice sent by

   RIAA to Cox on November 4, 2013, concerning a work with Title “LIVE AND LET DIE,” by

   Artist “WINGS.” According to the notice, the allegedly infringing file is named “(2000) – B-Sides

   Complete @VBR.”

          33.     Exhibit 32 is a true and correct copy of a document with Bates number

   Plaintiffs_00137124, which Plaintiffs produced in this action. This document is a notice sent by

   RIAA to Cox on June 17, 2013, concerning a work with Title “MOTIVATION,” by Artist

   “KELLY ROWLAND.” Based on my research, including a search of online Copyright Office

   registration records, on information and belief the Copyright Office has registered at least 29

   musical works titled “Motivation” since 1978; none of them were authored by Kelly Rowland.

                                      Plaintiffs’ Claimed Works

          34.     I have reviewed and am readily familiar with Plaintiffs’ pleadings in this matter.

   Plaintiffs filed their Complaint, ECF 1, on July 31, 2018. Plaintiffs filed a First Amended
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   Complaint, ECF 136, on April 23, 2019. Plaintiffs filed Amended Exhibits A and B, as ECF Nos.

   172-1 and 172-2 respectively, on June 13, 2019. Amended Exhibit A lists 7,057 sound recordings

   as works-in-suit, and Amended Exhibit B lists 3,421 musical compositions as works-in-suit.

          35.     Exhibit 33 is a spreadsheet (the “Registration Spreadsheet”) that was prepared at

   my direction, summarizing copyright registration information that Plaintiffs have produced in

   discovery for the sound recording works-in-suit. The Registration Spreadsheet contains, for each

   of the 7,057 sound recording works-in-suit listed on Plaintiffs’ list of claimed works (ECF 172-1):

                  o The number assigned to the work in Plaintiffs’ list of claimed works, ECF 172-
                    1, together with the Artist, Track (or “Title”), Plaintiff, and Reg. No. (copyright
                    registration number), as they appear in Plaintiffs’ Amended Exhibit A to the
                    First Amended Complaint, ECF 172-1;
                  o A column, “Beg. Bates,” indicating the Bates number of copyright registration
                    documentation produced by Plaintiffs in this action;
                  o A column, “Work Made for Hire,” indicating whether the sound recording was
                    registered as a “work made for hire”; and
                  o A column, “Album or Single,” indicating whether the sound recording was
                    registered as a single work (a “Single”), or as one of multiple works on the same
                    registration (an “Album”).
          36.     Based on my review of the Registration Spreadsheet:

                  o 6,777 of Plaintiffs’ 7,057 sound recording works-in-suit were registered as
                    albums (i.e., more than one sound recording was covered by the same copyright
                    registration);
                  o 6,766 of the sound recording works-in-suit are registered as “works made for
                    hire.”
                  o Of the 6,766 sound recording works-in-suit registered as works made for hire:
                            6,496 are covered by 1,158 work-for-hire registrations that include
                             multiple sound recordings (“albums”); and
                            237 are covered by work-for-hire registrations for a single sound
                             recording (“singles”).
                            The remaining work-for-hire registrations cover types of works that are
                             not readily classifiable as either albums or singles (such as motion
                             pictures or DVDs).
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            37.   Exhibit 33A is a compilation of the copyright registration documentation that

   Plaintiffs have produced in this case for sound recording works-in-suit that were registered as

   “works made for hire”. Exhibit 33A was created under my direction, by retrieving the documents

   corresponding to the “Beg. Bates” column in Exhibit 33 for such sound recordings (i.e., those for

   which the “Work Made for Hire” column in Exhibit 33 showed that registration type). As noted

   above, the Beg. Bates column specified, for each work in the Registration Spreadsheet, the Bates

   number of copyright registration documentation produced by Plaintiffs in this action. For ease of

   reference, the filenames of the files comprising Exhibit 33A also reflect the Bates numbers of the

   documents.


        EXEMPLARY CLAIMED WORKS FOR WHICH NO NOTICES WERE SENT

                                      Weird Al Yankovic Works

            38.   Plaintiffs’ Notice Chart (Exhibit 26, see ¶ 27 above) shows that during the Claims

   Period, Plaintiffs’ notices referenced only one sound recording by Artist Weird Al Yankovic,

   namely a track with the Title “Another One Rides the Bus.”

            39.   Plaintiffs have not produced any information or documents in this action that would

   indicate that there exists a Weird Al Yankovic album called “Another One Rides the Bus,” and on

   information and belief, based on my research including a review of Copyright Office records

   available online, the title “Another One Rides the Bus” does not refer to any Weird Al Yankovic

   album.

            40.   Plaintiffs’ list of sound recordings allegedly infringed in this action, filed as ECF

   172-1, includes a total of 117 sound recordings by Weird Al Yankovic, including 116 for which

   no notice was sent during the Claims Period. Exhibit 34 (“Weird Al Spreadsheet”) is a true and

   correct copy of a document created under my direction, comprising data extracted from ECF 172-1
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          47.    The result of my review is consistent with the review of this file’s metadata that my

   colleague, Diana Hughes Leiden, also performed in connection with Cox’s Motion to Preclude

   Plaintiffs’ Use of Certain Evidence, ECF 238. See ECF 238-1 (Declaration of Diana Hughes

   Leiden in Support of Defendants’ Motion to Preclude Plaintiffs’ Use of Certain Evidence)

   (“Leiden Sanctions Dec.”) at ¶ 6-7; ECF 238-7 (Ex. F to Leiden Sanctions Decl.).

          48.    On April 26, 2019, Audible Magic produced a spreadsheet with the Bates No.

   AUDIBLE-MAGIC-0007657 (which is sometimes referred to as REV00003444) (the “Audible

   Magic Spreadsheet”). A true and correct copy of the Audible Magic Spreadsheet is attached as

   Exhibit 40. The Audible Magic Spreadsheet contains significantly more information than the ‘431

   Spreadsheet (Exhibit 39).

                                     MarkMonitor Documents
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          49.     Exhibit 41 is a true and correct copy of a document produced by MarkMonitor in

   this action, with Bates number MM000189 - 221. This document is titled “MarkMonitor P2P

   Enforcement Process” and dated April 11, 2012. Its cover page indicates that it was



      a) At pp. 24-25 (Bates MM000212-13), the document describes the MarkMonitor “File

          Verification protocol.”

      b) At p. 25 (Bates MM000213), under the heading




      c) At p. 26, the document states:




                                           Other Discovery

          50.     I am readily familiar with discovery that has been conducted and documents that

   have been exchanged in this litigation. To my knowledge, Plaintiffs and their agents (including the

   RIAA and MarkMonitor) have not produced files, or pieces of files, purporting to be copies of

   works-in-suit downloaded from any Cox subscriber.

          51.     When Cox offered to identify a sampling of Cox subscribers who had been the

   subject of notices alleging infringement, Plaintiffs declined the offer. At Plaintiffs’ request, Cox

   did subsequently identify thousands of Cox Business subscribers who had received such notices.

   On information and belief, Plaintiffs have not sought to obtain any discovery with that information.
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          52.     On information and belief, Plaintiffs did not attempt to obtain discovery from any

   Cox subscriber during the course of this litigation.

          53.     Plaintiffs have submitted a proposed Trial Exhibit (PX-0038), a table titled “Sound

   Recordings and Musical Compositions. A true and correct copy of PX-0038 is attached hereto as

   Exhibit 42. PX-0038 indicates that 882 of Plaintiffs’ claimed musical compositions are claimed

   only as musical compositions: that is, Plaintiffs claim that the musical composition was infringed,

   but do not claim that any sound recording corresponding to the composition was infringed. PX-

   0038 also indicates that, according to Plaintiffs’ own analysis, for 2,556 of the musical

   compositions they claim, they also claim corresponding sound recordings. Id.

          54.     Exhibit 43 is a true and correct copy of the April 15, 2019 deposition transcript of

   Linda Trickey, Cox’s 30(b)(6) witness. For ease of reference, the portions of Ms. Trickey’s

   deposition cited in Defendants’ Memorandum of Law in Support of Their Motion for Summary

   Judgment are set forth here:

      a) 50:12-22:




      b) 51:5-18:
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      c) 56:20-57:1:




      d) 44:5-10:




      e) 307:3-8:




          55.     Exhibits 44-51 comprise true and correct copies of customer billing reports Cox

   produced in this litigation with the following Bates numbers:

          COX_SONY_00097360 (Exhibit 44); COX_SONY_00097361 (Exhibit 45);

          COX_SONY_00097362 (Exhibit 46); COX_SONY_00097363 (Exhibit 47);

          COX_SONY_00097364 (Exhibit 48); COX_SONY_00097365 (Exhibit 49);

          COX_SONY_00097366 (Exhibit 50); COX_SONY_00097367 (Exhibit 51).
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          These exhibits contain data that Cox extracted from its billing system, relating to billing

   and payment information for Cox subscribers who were the subject of an RIAA Notice during

   the Claims Period. See Exhibit 10 (Jarchow Deposition excerpts), above, at 98:2-118:8. Cox’s

   30(b)(6) designee, Paul Jarchow, supervise the preparation of these reports. Id. at 12:16-24




                                                                         ).



          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.

          Executed this 30th day of August, 2019 in Kensington, California.


                                                                /s/ /Thomas J. Kearney/
                                                               Thomas Kearney
                                                               WINSTON & STRAWN LLP
                                                               101 California St. Ste. 3400
                                                               San Francisco, CA 94111
                                                               Telephone: (415) 591-1000
                                                               Facsimile: (415) 591-1400
                                                               tkearney@winston.com
